 Case 4:22-cv-04010-KES Document 16 Filed 05/26/22 Page 1 of 2 PageID #: 354




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION


WILLIAM CODY,                                        4:22-CV-04010-KES

                   Plaintiff,
                                                  NUNC PRO TUNC ORDER
       vs.                                        CORRECTING FILING FEE

DOUG CLARK, individual and official
capacity; DANIEL SULLIVAN, individual
and official capacity; JENNIFER
DREISKE, individual and official
capacity; BRITTNEY LENGKEEK,
individual and official capacity; SAM
BADURE, individual and official
capacity; JEFFREY ELTON, individual
and official capacity; JENNIFER
FENOLIO, individual and official
capacity; TROY PONTO, individual and
official capacity; TIM REISCH,
individual and official capacity; DARIN
YOUNG, individual and official capacity;
JOHN BENTING, individual and official
capacity; MIKE LEIDHOLT, individual
and official capacity; KELLIE WASKO,
individual and official capacity; NYLA
SPRINKEL, individual and official
capacity; JOHN/JANE DOES #2(b),
individual and official capacities;
JOHN/JANE DOES #2(c), individual
and official capacities; JOHN/JANE
DOES #3, individual and official
capacity; MARY CARPENTER,
individual and official capacity,

                   Defendants.


      Plaintiff, William Cody, an inmate at the South Dakota State

Penitentiary, filed a pro se civil rights lawsuit under 42 U.S.C. § 1983. Docket
 Case 4:22-cv-04010-KES Document 16 Filed 05/26/22 Page 2 of 2 PageID #: 355




1. Cody filed a motion for leave to proceed in forma pauperis, and this court

granted Cody’s motion and required him to pay an initial partial filing fee.

Dockets 2, 7. In that order, this court directed the institution having custody of

Cody to forward monthly payments until the $402 filing fee is paid in full.

Docket 7 at 3. Under the District Court Miscellaneous Fee Schedule issued in

accordance with 28 U.S.C. § 1914, the $52 administrative portion of this fee

does not apply to persons granted in forma pauperis status. See District Court

Miscellaneous Fee Schedule, https://www.uscourts.gov/services-

forms/fees/district-court-miscellaneous-fee-schedule (last visited May 25,

2022). Cody’s full filing fee is $350.

      Thus, it is ORDERED

      1. That Cody’s filing fee, to be paid monthly as per this Court’s

         instructions in its order granting Cody’s motion to proceed in forma

         pauperis, is $350.

      Dated May 26, 2022.

                                 BY THE COURT:

                                 /s/ Karen E. Schreier
                                 KAREN E. SCHREIER
                                 UNITED STATES DISTRICT JUDGE




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